Case 0:06-cr-60292-JIC Document 147 Entered on FLSD Docket 02/01/2007 Page 1 of 1

                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA


                       CASE NO. 06-60292-CR-COHN/Snow


  UNITED STATES OF AMERICA,

             Plaintiff,

  v.

  A.D. HAMPTON, et al.,

            Defendants.
  ______________________________

                                   O R D E R


                 THIS CAUSE is before the Court on defendant Tydell

  Allen's Exparte Motions for Investigator and Fingerprint Expert (DE

  125 and 142), which were referred to United States Magistrate

  Judge, Lurana S. Snow.      Being fully advised, it is hereby
             ORDERED    AND   ADJUDGED   that   the   motions   are   GRANTED.

  Counsel for defendant Tydell Allen is authorized to expend an

  amount not to exceed $1,600.00, at a rate of $125.00 per hour,

  exclusive of costs, for the services of a fingerprint expert.
  Counsel is also authorized to expend an amount not to exceed

  $1,600.00, at a rate of $60.00 per hour, exclusive of costs, for

  the services of an investigator to aid in the preparation of the

  defense.   Counsel shall submit two CJA 21 forms to the undersigned

  within 10 days from the date of this Order.

             DONE AND ORDERED at Fort Lauderdale, Florida, this 1st

  day of February, 2007.




  Copies to:

  Randee Golder, Esq.
